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                                                         USDC SDNY
UNITED STATES DISTRICT COURT                             DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                            ELECTRONICALLY FILED
                                                         DOC #:
 PAMEL WILLIAMS, on behalf of herself and
                                                         DATE FILED: 10/20/2020
 all others similarly situated,

                           Plaintiff,

                    -against-                                  1:20-cv-2305 (MKV)

 MOTORSPORT AFTERMARKET                                               ORDER
 GROUP, INC. and ROLL AND
 COMPANY, INC.,

                           Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiff initiated this action by filing a complaint on March 15, 2020 [ECF #1]. On April

28, 2020, Plaintiff filed a notice of voluntary dismissal as to Defendant Motorsport Aftermarket

Group, Inc. [ECF #8; see also ECF #9]. On May 28, 2020, Plaintiff filed proof of service

indicating that Defendant Roll And Company, Inc. was served with the complaint on April 30,

2020 [ECF #10]. To date, Defendant Roll And Company has not answered the complaint or

otherwise appeared in this action.

       Accordingly, IT IS HEREBY ORDERED that any motion for entry of a default judgment

shall be filed by November 4, 2020. Plaintiff is directed to follow the procedures applicable to

default judgments under the Court’s Individual Rules and Practices for Civil Cases, available at

the Court’s website. Failure to move for a default judgment by November 4, 2020 may result in

dismissal of this action against Defendant Roll And Company for failure to prosecute, pursuant

to Rule 41(b) of the Federal Rules of Civil Procedure.

SO ORDERED.
                                                     _________________________________
Date: October 20, 2020                               MARY KAY VYSKOCIL
      New York, NY                                   United States District Judge
